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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


SPECTRUM NORTHEAST, LLC,

         and
                                                   Case No. ____
CHARTER COMMUNICATIONS, INC.,

                           Plaintiffs,
                                                   PLAINTIFFS’ MOTION FOR
         vs.                                       PRELIMINARY INJUNCTION
                                                   INCORPORATING
AARON FREY, in his official capacity as Attorney   MEMORANDUM OF LAW IN
General for the State of Maine,                    SUPPORT


                           Defendant.




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                                               INTRODUCTION

         Plaintiffs Spectrum Northeast, LLC (“Spectrum Northeast”) and Charter Communications,

Inc. (“CCI”) (collectively, “Charter”)1 move for a preliminary injunction to enjoin enforcement of

Maine Public Law Ch. 657 (“the Act”), which regulates Charter’s rates for cable service. The Act

is preempted by Title VI of the Communications Act of 1934 (the “Cable Act”), which gives the

federal government the exclusive power to regulate the rates of cable providers. The Act, which

goes into effect on June 16, 2020, will also inflict substantial and irreparable harm on Charter.

Accordingly, the Court should enjoin enforcement of the Act pending final resolution of the case

on the merits.

         Under the Cable Act, no State may “regulate the rates” of cable providers in jurisdictions,

like Maine, where the Federal Communications Commission (“FCC” or “Commission”) has found

that cable providers face effective competition from other video services. 47 U.S.C. § 543(a)(1)-

(2); see also id. § 556(c). The Act is quintessential rate regulation because it requires Charter to

modify its longstanding whole-month billing policy, under which it offers cable service to

subscribers on a monthly basis and requires subscribers to pay in advance of the ensuing month’s

cable service. Consistent with this policy and Charter’s Terms of Service, a subscriber who

chooses to cancel service in the middle of the billing period will not receive a rebate, but may

continue to receive service for the balance of the month if he or she so chooses.

         Charter’s rate policy reduces its administrative costs in numerous ways, leads to simple

bills that are easier for subscribers to understand, and eases upward pressure on rates for continuing



1
 Charter Communications, Inc. (“CCI”) through various subsidiaries, owns and operates cable systems and provides
cable television, internet, and telephone services to residential, commercial, and governmental customers in 41 states.
Spectrum Northeast, LLC (“Spectrum Northeast), a wholly-owned subsidiary of CCI, holds several franchises to
provide cable service in Maine and is engaged in the business of providing cable, internet, and voice services in Maine.
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subscribers. It also tracks the policy of many of Charter’s most significant competitors (e.g.,

DIRECTV, DISH, Sling TV, AT&T TV Now, Hulu + Live TV, Amazon Prime, and Netflix), who

do not prorate and are not required to do so under Maine law. The Act requires Charter to abandon

its whole-month billing policy in Maine and provide a pro-rata rebate to subscribers who cancel

their service in the middle of the month.

        Charter meets all the requirements for a preliminary injunction. First, Charter has a high

likelihood of success on the merits. The Act is rate regulation and is therefore preempted. It

mandates a particular rate structure and a specific unit of service that Charter must offer, i.e., daily,

rather than the monthly service Charter chooses to provide. Another federal court recently

enjoined enforcement of a materially identical statewide proration requirement, finding it

preempted by the Cable Act.              Altice USA, Inc. v. N.J. Bd. of Pub. Utils., No.

319CV21371BRMZNQ, 2020 WL 359398, at *8, *10 (D.N.J. Jan. 22, 2020) (granting preliminary

injunction), appeal docketed, No. 20-1773 (3d Cir. Apr. 10, 2020).

        Second, Charter will suffer irreparable harm absent injunctive relief. Complying with the

terms of the Act and reversing whole-month billing in Maine would require CCI to reconfigure its

billing systems and retrain customer service representatives—all at considerable time, effort, and

expense. Changing Charter’s Terms and Conditions now, and then likely again at the conclusion

of this litigation, will also create customer confusion and result in the loss of goodwill and

increased costs. And if Charter were to comply with the Act and issue rebates to subscribers while

this litigation runs its course, Charter will have no feasible way to recoup the funds spent to prorate

Maine subscribers’ bills.

        Finally, the balance of equities plainly favors relief. An injunction would not cause

substantial harm to others, and the public interest favors injunctive relief. That is particularly so


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because implementing the Act now would require Charter to divert resources away from meeting

subscribers’ needs during the current COVID-19 pandemic.

                                        BACKGROUND

  I.   The Cable Act, Preemption, And Rate Regulation

       The Cable Act establishes the federal regulatory regime for cable operators, cable services,

and cable systems. See 47 U.S.C. §§ 521 et seq. Congress enacted the Cable Act to “establish a

national policy concerning cable communications,” “establish guidelines for the exercise of

Federal, State, and local authority with respect to the regulation of cable systems,” and “promote

competition in cable communications and minimize unnecessary regulation that would impose an

undue economic burden on cable systems.” Id. § 521(1), (3), (6). To effectuate these purposes

and ensure the success of the federal regulatory scheme, Congress expressly preempted “any

provision of law of any State, political subdivision, or agency thereof, or franchising authority, or

any provision of any franchise granted by such authority, which is inconsistent with” the

Communications Act of 1934, which includes the Cable Act. Id. § 556(c).

       Of particular relevance to this case, the Cable Act governs the circumstances under which

a State or local franchising authority may regulate the rates of a cable service. See id. § 543. In

this regard, Congress made clear that “No Federal agency or State may regulate the rates for the

provision of cable service except to the extent provided under this section.” Id. § 543(a). Congress

then proceeded to define and circumscribe the scope of permissible rate regulation: “If the [Federal

Communications] Commission finds that a cable system is subject to effective competition, the

rates for the provision of cable service by such system shall not be subject to regulation by the

Commission or by a State.” Id. § 543(a)(2) (emphasis added).




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          Beginning in 2008, the FCC determined that Time Warner Cable (Spectrum Northeast’s

predecessor in interest) is subject to effective competition in 198 localities in Maine and revoked

certification for those localities to regulate Time Warner Cable’s cable service rates.2 The FCC

subsequently adopted a rebuttable presumption that cable operators are subject to “effective

competition” nationwide, In re Amendment to the Commission’s Rules Concerning Effective

Competition, Report and Order, 30 FCC Rcd 6574 (2015) (codified at 47 C.F.R. § 76.906) (“2015

Report and Order”), and neither the State nor any town in Maine has sought or received

certification from the Commission to regulate rates for the provision of cable services since the

issuance of the 2015 Report and Order.3

    II.   Charter’s Sale Of Cable Service On A Monthly Basis

          Charter has long sold its cable services on a monthly basis and charged for those services

in advance. Subscriber bills clearly state the beginning and end date of the billing period, which

does not vary month to month, so Charter’s cable subscribers know in advance when their next

billing period begins and thus can decide before the start of the billing period whether they wish

to continue their cable service for an additional month. Declaration of Matt Hellman (“Hellman

Decl.”), attached hereto as Exhibit A; Declaration of David Andreski ¶ 4 (“Andreski Decl.”),

attached hereto as Exhibit B. Charter’s Terms and Conditions have also long provided that a

subscriber who cancels in the middle of the month will not receive a pro-rata rebate for the balance




2
  See In re Time Warner Cable Inc. Time Warner Entertainment-Advance/Newhouse Partnership, Memorandum
Opinion and Order, 23 FCC Rcd 6559 (MB 2008); In re Comcast Cable Communications, LLC Time Warner Cable,
Inc., Memorandum Opinion and Order, 23 FCC Rcd 6883 (MB 2008); In re Time Warner Cable Inc., Memorandum
Opinion and Order, 23 FCC Rcd 7131 (MB 2008); In re Time Warner Cable Inc., Memorandum Opinion and Order,
25 FCC Rcd 5438 (MB 2010).
3
  See In re Communications Marketplace Report, Report, 33 FCC Rcd 12558, 2018 WL 6839365, at *149 (2018)
(Appendix B-1, Report on Cable Industry Prices ¶ 13) (“Thus far, only in Massachusetts and Hawaii have [local
franchising authorities] successfully certified the lack of effective competition.”).
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of the month. Specifically, Charter’s Terms and Conditions notify subscribers that they “shall be

responsible for the full monthly charge (without proration) for those Services that are offered on a

monthly subscription basis to which the Subscriber has subscribed, regardless of Subscriber’s

termination of such monthly Service prior to the conclusion of the respective subscription month,”

to the extent consistent with applicable law. Charter Terms and Conditions of Service ¶ 6, attached

hereto as Exhibit C.

        Effective June 23, 2019, after providing advance notice to its subscribers, Charter updated

its rebate practice in Maine and elsewhere to conform to its Terms and Conditions. Andreski Decl.

¶ 5. To ensure that Maine subscribers are aware of this policy, Charter has since June 23, 2019

included a notice on its monthly subscriber bills and continues to do so. Id. ¶ 10. In order to

implement this change, Charter updated its billing systems and modified its training manuals and

operating procedures for customer service representatives who handle service change requests and

billing inquiries. Id. ¶.

        Charter’s decision to update its rebate practice was intended to address the operational

challenges associated with accommodating prorated charges and credits and the desire to simplify

and streamline its billing practices and reduce associated costs. Prior to this update, even simple

service changes could lead to highly complex and confusing bills. Declaration of Renato Motta

¶ 10 (“Motta Decl.”), attached hereto as Exhibit D. Because subscribers were charged for a full

month’s service in advance, they would not see a credit for a given service change reflected on

their bills until the month following the requested service change. For example, if a subscriber

were to cancel cable service but not broadband service on the 15th day of the billing cycle, he or

she would not see the prorated credit until the following month. This practice resulted in

complicated bills and frequent customer confusion, as subscribers frequently called to inquire


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about charges on their bills after a service change went into effect. Andreski Decl. ¶ 6. Increased

interactions with customer service led to lower customer satisfaction and rising costs of responding

to inquiries and training representatives to handle those billing-related inquiries. Id.

       In addition to the operational challenges associated with applying prorated credits and

charges retroactively, Charter has long faced competition from providers like DIRECTV and

DISH, neither of which is subject to cable regulation and neither of which provides a pro-rata

rebate to terminating subscribers. Andreski Decl. ¶ 8. That competition has only become steeper

with the entry of online video streaming services (e.g., Sling TV, AT&T TV Now, Hulu + Live

TV, Amazon Prime, and Netflix) that charge on a monthly basis without any prorated credits even

if a subscriber cancels in the middle of a month, id., and are likewise not subject to the Act.

Prorating subscribers’ cable bills put Charter at a disadvantage in several ways. For instance, while

Charter’s proration practice was still in effect, Charter observed that some customers would

subscribe to a premium channel or to one of Charter’s streaming video services, only to cancel

before the end of the first month and pay only a fraction of the monthly subscription rate. Id. ¶ 9.

Charter’s non-cable competitors are not vulnerable to this type of consumer behavior because of

their own whole-month billing practices.

III.   The Act.

       On March 17, 2020, the Maine Legislature passed Public Law Ch. 657. The Act amends

Section 3010 of Title 30-A of the Maine Revised Statutes, which governs non-exclusive franchises

for cable television service, including the franchises held by Spectrum Northeast. The Act was

signed by the Governor on March 18, 2020, and by operation of law will become effective on June

16, 2020, Me. Const. art. IV, pt. 3, § 16; Maine State Legislature, http://legislature.maine.gov (last

visited Apr. 22, 2020). As a franchised cable operator in Maine, Spectrum Northeast is subject to


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the Act. Section 1 of the Act provides: “A franchisee shall grant a subscriber a pro rata credit or

rebate for the days of the monthly billing period after the cancellation of service if that subscriber

requests cancellation of service 3 or more working days before the end of the monthly billing

period.” Maine Public Law Ch. 657, attached hereto as Exhibit E; see also Hellman Decl. ¶ 5.

Section 2 of the Act requires the cable operator to disclose to subscribers that they are entitled to

the pro-rata refund required by Section 1. See Ex. E.

         Maine law provides for penalties in the event that a franchisee, such as Spectrum Northeast,

does not comply with the Act. A violation of any provision of Section 3010 is a violation of

Maine’s Unfair Trade Practices Act, Me. Rev. Stat. tit. 5 § 205-A et seq., which provides for civil

enforcement, including penalties. See Me. Rev. Stat. tit. 30-A, § 3010(7); Me. Rev. Stat. tit. 5

§ 212.

                                       LEGAL STANDARD

         In determining whether to issue a preliminary injunction, the court must weigh “(1) the

likelihood of success on the merits; (2) the potential for irreparable harm to the movant if the

injunction is denied; (3) the balance of relevant impositions, i.e., the hardship to the nonmovant if

enjoined as contrasted with the hardship to the movant if no injunction issues; and (4) the effect

(if any) of the court’s ruling on the public interest.” Esso Standard Oil Co. (Puerto Rico) v.

Monroig-Zayas, 445 F.3d 13, 18 (1st Cir. 2006) (quotation marks and alteration omitted). While

the court has discretion to balance the relationship between these factors, see Ross-Simons of

Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 16 (1st Cir. 1996), the first two factors—success on

the merits and irreparable harm—are the most important, Gonzalez-Droz v. Gonzalez-Colon, 573

F.3d 75, 79 (1st Cir. 2009).




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                                          ARGUMENT

  I.   Charter Is Likely To Succeed On The Merits Of Its Preemption Claim Because The
       Act Directly Regulates Charter’s Rates For Cable Service.

       Charter is likely to succeed on its preemption claim because the Act’s proration

requirement is clearly a form of rate regulation. Defendant’s intended enforcement of the Act

would regulate Charter’s rates by forcing Charter to charge for cable service on a daily basis rather

than a monthly basis. The Cable Act prevents Maine from doing so because Charter has been

found by the FCC to be subject to effective competition. 47 U.S.C. § 543(a)(2); id. § 556(c).

       A.      Federal Law Expressly Preempts The Regulation Of Rates For Cable Services
               In Areas Where Charter Faces Effective Competition From Other Providers.

       The Supremacy Clause provides that the “Constitution, and the Laws of the United States

which shall be made in Pursuance thereof . . . shall be the supreme Law of the Land.” U.S. Const.

art. VI, cl. 2. Congress may expressly preempt state and local law, see Arizona v. United States,

567 U.S. 387, 399 (2012), and federal agencies may also act to preempt state and local laws that

conflict with properly adopted federal regulations, see City of New York v. FCC, 486 U.S. 57, 64

(1988). Both types of preemption arise here.

       Congress specifically preempted the regulation of rates for cable services in areas where

the Commission found that cable service was subject to effective competition.             47 U.S.C.

§ 543(a)(2). Congress’s decision to preempt regulation of cable rates serves Congress’s stated

goals of creating a “national policy” for cable communications and establishing guidelines for the

exercise of regulation at all levels of government that promote competition and minimize

unnecessary and burdensome regulation. See id. § 521(1), (3), (6). Were states and localities

permitted to regulate rates outside of the FCC’s prescription, the carefully constructed federal




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regulatory scheme would be frustrated. As discussed above, the FCC has found that Charter is

subject to effective competition in Maine not once, but twice. See supra at 2.

         B.         The Act Is Rate Regulation.

         Charter is likely to prevail in proving that the enforcement of the Act would, in fact,

constitute impermissible rate regulation. The Act would regulate rates for the provision of cable

services by requiring Charter to prorate the cost, i.e., the rate charged, for its services in a

subscriber’s last month of service.

         Because the Cable Act does not define “rate,” the term should be given its ordinary, plain

English meaning. See, e.g., Storer Cable Commc’ns v. City of Montgomery, 806 F. Supp. 1518,

1543 (M.D. Ala. 1992). A “rate,” as defined by the Oxford English Dictionary, is “[t]he amount

of a charge or payment . . . [having relation] of some other amount or as a basis of calculation.”

Oxford English Dictionary Online, https://www.oed.com/view/Entry/158412 (last visited Apr. 22,

2020);        see     also    Merriam–Webster     Online      Dictionary,    https://www.merriam-

webster.com/dictionary/rate (last visited Apr. 22, 2020) (defining a rate as “a charge per unit of a

public-service commodity”).

         As these definitions make clear, a “rate” is not just the amount an entity can charge, but

the charge for a specific amount of the item or service. For example, $30 is not a rate; $30 per

month is a rate. A rate is the price charged for a particular quantity of service. See A.E. Kahn,

The Economics of Regulation at 21 (1993 ed.) (“[P]rice is a ratio, with money in the numerator

and some physical unit of given or assumed quantity and quality in the denominator.”); accord

Am. Tel. & Tel. Co. v. Cent. Office Tel., Inc., 524 U.S. 214, 223 (1998) (“Rates, however, do not

exist in isolation. They have meaning only when one knows the services to which they are

attached.”). In this case, the quantity of service is measured in time.


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           The Act’s requirement for a cable provider to prorate a subscriber’s bill is rate regulation

because it forbids providers from offering their services on a monthly basis, rather than on a daily

basis. Such a regulation dictates what rate (price/time combination) the provider can offer. This

rate structure requirement is as much a part of rate regulation as the rate level. See Kahn at 25-26

(characterizing rate regulation as encompassing the “structure of rates” in addition to the “level of

rates”).

           Both courts to have considered the question have held that proration requirements

constitute rate regulation. In Altice USA, Inc. v. New Jersey Board of Public Utilities, the district

court held that a materially identical proration requirement under New Jersey law “violates the

Cable Act” and granted plaintiff’s motion for a preliminary injunction. 2020 WL 359398, at *8,

*10. The district court reasoned that “[a] requirement that service providers prorate bills is a type

of rate regulation” that is preempted by the Cable Act because it required Altice to bill subscribers

“based on the exact dates of service.” Id. at *8.

           Similarly, the district court in Windstream Nebraska, Inc. v. Nebraska Public Service

Commission held that requiring telecommunications carriers to “cease charging the customer for

services and equipment as of the date of termination” and “refund the pro rata portion of the

month’s charges for the period of days remaining in the billing period” was “rate regulation” under

Nebraska law. No. CI-10-2399, 2011 WL 13359491, at *2-3, *6 (Neb. Dist. Ct. June 9, 2011).

As in this case, Nebraska’s regulation effectively required Windstream to “change its rate from a

monthly fixed rate to a daily rate so that the rate can be prorated.” Id. at *6. This amounted to an

unauthorized “attempt[] to modify the amount of time that is covered by the amount of dollars

charged by a carrier,” and thereby “mandate[d] that the rate period for service be less than one

month.” Id.


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       These holdings comport with the FCC’s own interpretation of what constitutes rate

regulation. The FCC has long held that regulation of rate structure—including the unit of service

that must be offered—is rate regulation. Like the Cable Act, the Communications Act prohibits

state regulation of the rates for commercial mobile radio service (“CMRS”), i.e., cell phone

service. 47 U.S.C. § 332(c)(3). In applying this preemption provision, the FCC held that a state

law that specifies the unit of service that a provider must offer its subscribers is rate regulation and

therefore preempted. See In re Southwestern Bell Mobile Systems, Inc., Memorandum Opinion

and Order, 14 FCC Rcd 19898, 19908 ¶ 23 (1999) (“[P]rohibit[ing] CMRS providers from

charging for incoming calls or charging in whole minute increments . . . would ‘regulate . . . the

rates charged by . . . [a] commercial mobile service . . . .’” (quoting In re Comcast Cellular

Telecomms. Litig., 949 F. Supp. 1193, 1201 (E.D. Pa. 1996)). More broadly, the Commission “has

made clear that the proscription of state rate regulation extends to the regulation of ‘rate levels’

and ‘rate structures’ for CMRS.” In re Truth-In-Billing and Billing Format, Second Report and

Order, Declaratory Ruling, and Second Further Notice of Proposed Rulemaking, 20 FCC Rcd

6448, 6462-63 ¶ 30 (2005), vacated on other grounds, Nat’l Ass’n of State Util. Consumer

Advocates v. FCC, 457 F.3d 1238 (11th Cir. 2006).

       While these decisions arose in the CMRS context, their findings regarding what constitutes

rate regulation are not limited to cellular service. The Commission’s fundamental conclusion in

Southwestern Bell was that regulation of the unit of time for which a party can charge for a

service—e.g., minute, hour, month—is rate regulation. That principle is as valid in the context of

regulating cable rates as it is in the context of regulating cellular rates. Indeed, the statute

preempting state rate regulation that was at issue in Southwestern Bell is virtually identical in

structure to the one here. Compare 47 U.S.C. § 332(c)(3) (“[N]o State or local government shall


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have any authority to regulate the entry of or the rates charged by any commercial mobile service

. . .”), with id. § 543(a)(2) (“If the Commission finds that a cable system is subject to effective

competition, the rates for the provision of cable service by such system shall not be subject to

regulation by the Commission or by a State or franchising authority under this section.”). Maine’s

prohibition on whole-month billing, like the state-imposed prohibition on whole-minute billing in

Southwestern Bell, constitutes rate regulation and is therefore preempted.

       Nor can the Act avoid preemption on the ground that Maine purportedly adopted it as a

consumer protection measure. Federal law permits a state to “enact[] or enforc[e] any consumer

protection law, to the extent not specifically preempted by this subchapter.” Id. § 552(d) (emphasis

added). But, as explained above, federal law specifically preempts state rate regulation where, as

here, the cable system has been found by the FCC to be subject to effective competition throughout

the State. Id. § 543(a)(2). Maine cannot engage in rate regulation by styling that regulation as a

consumer protection initiative.

       For the foregoing reasons, Charter is likely to succeed on its claim that Section 1 of the Act

constitutes impermissible rate regulation that is preempted by the Cable Act.

 II.   Absent Preliminary Injunctive Relief, Charter Will Suffer Irreparable Harm.

       This Court should grant a preliminary injunction because Charter will suffer irreparable

harm if the Defendant is permitted to enforce the Act’s proration requirement against Charter. A

moving party has the burden of demonstrating that it will likely suffer irreparable harm absent

injunctive relief. “It is usually enough if the plaintiff shows that its legal remedies are inadequate”

by showing that it will likely suffer “a substantial injury that is not accurately measurable or

adequately compensable by money damages.” Ross-Simons of Warwick, Inc., 102 F.3d at 18-19.




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       If the Act is allowed to take effect on June 16, 2020 as planned, Charter will suffer at least

five different kind of harms for which it has no adequate legal remedy.

       First, in addition to undoing the benefits Charter sought by enforcing the whole-month

billing policy in the first instance, it would cost CCI hundreds of thousands of dollars and at least

six months updating its systems to implement a proration requirement for cable customers only.

CCI would have no prospect of recovering these costs if the Act is ultimately held to be preempted.

Martin-Marietta Corp. v. Bendix Corp., 690 F.2d 558, 568 (6th Cir. 1982) (recognizing that non-

compensable costs resulting from compliance with an unconstitutional statute are irreparable

harm). Charter does not have a specific billing system for Maine or a dedicated billing system for

cable service. Motta Decl. ¶ 5. Implementing a proration requirement for cable customers only

would therefore require significant modifications to the coding of CCI’s billing system, especially

with respect to the numerous subscribers who receive a bill for a bundle of services (e.g., cable

and internet access), given that the proration requirement only applies to charges for cable

television service. Id. ¶¶ 5-6. Thus, the necessary changes would have to be made in the context

of a multistate billing system that is not specifically dedicated to cable subscribers. Id. ¶ 5.

       To add the billing system functionality necessary to apply prorated rebates to voluntary

cancellations of cable service in Maine, CCI would need to contract with the vendor who owns the

billing software to write new code for that purpose. Id. Acquiring that new code would cost

between $300,000 and $400,000 and take between four to six months to complete. Id. ¶ 6. CCI

would then have to spend at least two additional months and significant resources testing the new

code and integrating it into Charter’s system. Id. CCI would have to make similar modifications

to the interfaces customer service representatives use to handle calls from subscribers. Id. ¶ 8. It

would have to spend additional unrecoverable sums to reverse these efforts if it prevails in this


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action. In addition, during the period that the reconfiguring of the billing system was taking place,

Charter would have to prorate customer bills manually, requiring substantial time and cost. Motta

Decl. ¶ 7. None of these costs could be recouped in the event that Charter prevails on the merits

of its claim.

        Charter would also have to retrain its employees regarding the change in practices while

the case is pending, only to retrain them once again if it were to prevail. Charter has engaged in a

months-long campaign to train its customer service representatives to explain and implement the

whole-month billing policy, including how to respond to a range of potential subscriber scenarios

that may arise as the policy is implemented. CCI invested significant resources in this training,

none of which it would be able to recoup if the policy were reversed or suspended. Motta Decl.

¶ 9. The interfaces currently used by CCI’s customer service representatives would have to be

updated to allow representatives to apply pro-rata rebates for Maine cable subscribers.

Implementing all of these changes would divert resources from maintaining and addressing other

more urgent customer service and billing system issues. Id. Moreover, a relatively large number

of customer service representatives would have to be retrained because Charter does not have

Maine-specific customer service representatives. Rather, CCI operates several regional call

centers that handle incoming subscriber queries from across its entire national service footprint.

Id.

        Second, once Charter pays out a rebate to a subscriber who discontinues service in the

middle of a month, Charter would have no feasible way to recapture those rebates even if it

ultimately prevailed in this case because it would be impractical to locate and contact those who

no longer subscribe to any of Charter’s services. Andreski Decl. ¶ 15.




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       Third, Charter will likely suffer harm to its reputation and a loss of goodwill among its

subscribers due to confusion about frequent changes to subscribers’ bills. Under the whole-month

billing policy, subscribers’ bills are simple and relatively easy to understand. Motta Decl. ¶ 10.

By contrast, when Charter was still providing pro-rata rebates, even simple service changes could

lead to highly complex and confusing bills. Id. Implementing proration again will reintroduce

these complications to subscribers’ bills. Id. Furthermore, creating an ad hoc exception to

Charter’s whole-month billing policy for Maine subscribers—after implementing the policy

change less than a year ago—is likely to confuse subscribers about Charter’s rates and policies.

Id. ¶ 10. That confusion will only double if the Court ultimately holds that the Act is preempted,

allowing Charter to reinstate its whole-month billing policy at the end of these proceedings. This

confusion will likely lead to an increase in the volume of calls to Charter’s customer service

representatives and a decrease in subscribers’ overall satisfaction with Charter’s cable service. Id.

There is no precise way to assign a dollar-value to these harms. Indeed, the First Circuit has held

that loss of goodwill and reputation “is the type of harm not readily measurable or fully

compensable in damages.” K-Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir.

1989); see also Ross-Simons, 102 F.3d at 20 (“By its very nature injury to goodwill and reputation

is not easily measured or fully compensable in damages. Accordingly, this kind of harm is often

held to be irreparable.”).

       Fourth, forcing Charter to prorate would put Charter at a competitive disadvantage in the

market for video services. Many of Charter’s competitors sell and charge for their services on a

monthly basis, as Charter does, through one rate imposed on a monthly, advance basis, but without

proration for mid-cycle cancellations. Andreski Decl. ¶ 14. For example, Charter competitors




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DIRECTV,4 DISH,5 Sling TV,6 AT&T TV Now,7 Hulu + Live TV,8 Amazon Prime,9 and Netflix10

all bill in advance of providing service and do not provide rebates or pro-rata credits when

subscribers cancel their service during a billing cycle. The Act does not apply to these competitors,

and so they are immune from all of the costs of complying with it. Imposing these costs on Charter

will put upward pressure on its prices while exempting competitors from those same pressures.

And the harms that will result from this competitive disadvantage are not readily measurable in

monetary terms.

         Fifth, and finally, being required to comply with a preempted law can itself be a form of

irreparable harm. In Morales v. Trans World Airlines, Inc., the Supreme Court considered whether



4
  DIRECTV Residential Customer Agreement, AT&T (effective Dec. 20, 2019), https://www.att.com/legal/terms.dtv_
residentialCustomerAgreement.html (“Your cancellation is effective on the last day of the billing cycle in which you
cancel (exceptions may apply to certain promotional periods and must be in writing) and you will not receive a prorated
credit or refund for any portion of Service cancelled (subject to applicable law).”).
5
  Residential Customer Agreement, DISH (last updated Jan. 2020), https://www.dish.com/downloads/legal/residen
tial-agreement.pdf (“Prices, fees and charges, once charged to your account, are non-refundable, and no credits,
refunds, price reductions or any other form of compensation will be provided in connection with the cancellation or
disconnection of Services.”).
6
  Sling TV Terms of Use, Sling TV (last updated Jan. 24, 2018), https://www.sling.com/offer-details/disclaimers/terms-
of-use (“Because charges are prepaid each billing period, when you call to cancel your Subscription Services, your
subscription will continue, and you will be able to enjoy your Subscription Services through the end of, the then-
current billing period . . . . Refunds are not issued for a partial billing period.”).
7
 AT&T TV Now Terms of Service and End User License Agreement, AT&T (last visited Apr. 22, 2020), https://
www.atttvnow.com/terms-and-conditions (“We do not provide refunds or credits for any partial-month periods or
unwatched Content.”).
8
  Terms of Use, Hulu (effective Sept. 27, 2019), https://hulu.com/terms (“Payments are not refundable. If you cancel,
modify your subscription, of if your account is otherwise terminated under these Terms, you will not receive a credit,
including for partially used periods of Service.”).
9
  Amazon Prime Video Terms of Use, Amazon.com (last updated Jan. 1, 2020), https://www.primevideo.com/
help/ref=atv_hp_nd_cnt?nodeId=202095490 (“If you cancel [outside the trial period], we will refund your full
membership fee only if Digital Content available as part of your video-only membership has not been accessed through
your account since your latest membership charge.”); see also Amazon Prime Terms, Amazon.com (last updated Dec.
27,     2018),   https://www.amazon.com/gp/help/customer/display.html/ref=prime_pdp_prime_assist_terms?node
Id=13819201 (disallowing subscription fee refund unless the customer has not used Amazon Prime during the billing
cycle).
10
  Netflix Terms of Use, Netflix (last updated Apr. 24, 2019), https://help.netflix.com/legal/termsofuse (“Payments are
nonrefundable and there are no refunds or credits for partially used periods. Following any cancellation, however, you
will continue to have access to the service through the end of your current billing period.”).
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the Federal Aviation Act preempted state guidelines concerning the content and format of airline

advertising. 504 U.S. 374, 378 (1992). The Court concluded that the plaintiff air carriers who

were subject to the guidelines faced irreparable injury and that a preliminary injunction enjoining

the guidelines was appropriate because the plaintiffs faced a “Hobson’s choice.” Id. at 381. The

plaintiffs could either “continually violate the [state] law and expose themselves to potentially

huge liability; or violate the law at least once as a test case and suffer the injury of obeying the law

during the pendency of the proceedings and any further review.” Id. Such a choice, the Court

concluded, amounted to irreparable injury. Courts in this jurisdiction have held the same. Condon

v. Andino, Inc., 961 F. Supp. 323, 331 (D. Me. 1997) (holding that it would impose irreparable

harm on the plaintiff to be forced to choose between “either complying with regulations that are

unconstitutional or violating his Town’s laws”).

       Charter faces an analogous “Hobson’s choice” here: If it were to proceed with its plan to

charge a monthly rate (regardless of when a subscriber requests to terminate his or her service), it

would face a high likelihood that the Defendant would initiate an enforcement proceeding, cf.

Morales, 504 U.S. at 381; if Charter were to exempt Maine from its whole-month billing policy,

Charter would suffer the injury of obeying a law that is likely unconstitutional and incurring

substantial irreparable costs to carve out Maine subscribers from policy.

       Accordingly, Charter has established that it would suffer irreparable injury absent a

preliminary injunction. Indeed, the district court in Altice found that a materially identical cable

regulation would impose the very same types of harms on the plaintiff cable provider and that

those harms were irreparable. Altice, 2020 WL 359398, at *8-9.




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III.    No Substantial Harm Will Result From Injunctive Relief.

        Enjoining the Act would not cause substantial harm to others. As discussed above, the Act

is likely unconstitutional, and as such Maine has no legitimate interest in enforcing it. See Siembra

Finca Carmen, LLC. v. Sec’y of Dep’t of Agric. of Puerto Rico, No. CV 18-1783, __ F. Supp. 3d

__, 2020 WL 557208, at *11 (D.P.R. Feb. 4, 2020) (“Just as a government has no interest in

enforcing an unconstitutional law, the public interest is harmed by the enforcement of laws

repugnant to the United States Constitution.” (citing Gordon v. Holder, 721 F.3d 638, 653 (D.C.

Cir. 2013)).

        Moreover, a preliminary injunction would not harm Charter’s subscribers or the general

public. To the contrary, when Charter prorated cable bills in the past, the practice led to customer

confusion when billing for service was not reflected until the bill in the month following a service

change. The new policy minimizes such confusion. See supra. Furthermore, Charter adopted its

whole-month billing policy less than a year ago. If the Act were allowed to take effect in June,

only to be found to be preempted at the end of this case, Charter’s Maine subscribers would have

to endure a confusing and disruptive round of policy changes in the meantime. Andreski Decl.

¶ 13. To prevent this whiplash, the more sensible approach is to allow Charter to maintain its

current whole-month billing policy during these proceedings.11 Charter also expects enforcement




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   Because the proration requirement of the Act should be enjoined, the Act’s companion provision requiring cable
operators to disclose to consumers that they are entitled to proration should also be enjoined. That provision cannot
be enforced (and would be affirmatively misleading) to the extent the proration requirement is preempted. Town of
Windham v. LaPointe, 308 A.2d 286, 293 (Me. 1973) (related provisions not severable where unlawful provision is
an “essential” part of enactment). Charter will continue to comply with all other required notices for service
interruptions currently provided for in Me. Rev. Stat. tit. 30-A § 3010(1).



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of this policy to reduce its transaction and back-office costs and thereby ease upward pressure on

rates for existing and future subscribers. Andreski Decl. ¶ 11; see supra.

IV.    The Public Interest Favors Injunctive Relief.

       Finally, a preliminary injunction is warranted because an injunction would further the

public interest. As this court has stated: “It is hard to conceive of a situation where the public

interest would be served by enforcement of an unconstitutional law or regulation.” Condon, 961

F. Supp. at 331; Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013) (“[E]nforcement of an

unconstitutional law is always contrary to the public interest.”); ACLU v. Ashcroft, 322 F.3d 240,

251 n.11 (3d Cir. 2003) (“[N]either the Government nor the public generally can claim an interest

in the enforcement of an unconstitutional law.” (quotation marks omitted)), aff’d, 542 U.S. 656

(2004). Because enforcement of the Act is likely preempted by federal law, the Court should find

that a preliminary injunction is in the public interest.

       The public interest particularly favors the entry of interim relief given that Charter has seen

unprecedented demand for its services due to the global COVID-19 pandemic. Millions of

subscribers, including tens of thousands of Mainers, are now entirely dependent on their home

networks for their jobs and education. Andreski Decl. ¶ 12. Requiring CCI to begin modifying

its billing systems and retrain customer service representatives to comply with the Act will divert

attention and resources from ensuring continuity of service during the current crisis. These

measures would be particularly onerous now given that Charter’s teams are facing unprecedented

workloads and dedicating nearly all of their capacity to handling a surge in customer calls due to

the COVID-19 pandemic. See Motta Decl. ¶ 12.

       The FCC itself recently recognized the role that multichannel video programming

distribution providers, including cable operators, are providing “to keep Americans informed and


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connected during this national emergency” and it has delayed imposing “new billing requirements”

that would “requir[e] providers to divert resources away from other consumer demands brought

on by the pandemic.” See In re Implementation of Section 1004 of the Television Protection Act

of 2019, Order, MB Docket No. 20-61, DA 20-375 ¶¶ 1, 3 (MB rel. Apr. 3, 2020). The FCC there

specifically found that ensuring continuity of service should take precedence over making

“changes to existing billing systems [and] provide employee training” associated with the new

rules. Id. ¶ 3. Modifying Charter’s billing practices now would place a strain on the resources of

CCI’s technical, legal, and customer service personnel, who are already extremely overburdened

during this time of crisis. Andreski Decl. ¶ 12. Rather than require Charter to divert resources

now to implement the Act during the pendency of this litigation, this Court should issue an

injunction preserving the status quo, so that Charter can focus its full attention on maintaining

continuity of service so that Americans can remain connected to work, school, and one another,

and get the information they need to stay safe.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Charter’s motion for a preliminary

injunction and enjoin the Defendant from enforcing Maine Public Law Ch. 657.



                                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2019, I electronically filed the foregoing document entitled

Motion for Preliminary Injunction Incorporating Memorandum of Law in Support via email to the

U.S. District Court, Bangor, Maine (newcases.bangor@med.uscourts.gov), and sent a copy of the

foregoing    document      to    the    State    Attorney      General’s     Office     by    email

(Christopher.C.Taub@maine.gov) and U.S. Mail at the following address (on May 12, 2020):

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